     Case 2:08-cr-00026-FVS    ECF No. 385   filed 09/20/10   PageID.2546 Page 1 of 1




 1                            UNITED STATES DISTRICT COURT
 2                            EASTERN DISTRICT OF WASHINGTON
 3

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 5
     UNITED STATES OF AMERICA,
                                                        No. CR-08-026-FVS-2
 6
                       Plaintiff,

 7
                                                        ORDER GRANTING
                 v.                                     MODIFICATION OF
 8
                                                        CONDITIONS OF RELEASE

 9
     FRAN OGREN,

10
                       Defendant.

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12        THIS MATTER having come before the Court based upon “Defendant
     Ogren’s Motion to Modify Release Conditions”; Now, therefore
13
          IT IS HEREBY ORDERED:
14
          1. “Defendant Ogren’s Motion to Modify Release Conditions” (Ct.
15
     Rec. 383) is granted.
16
          2. Ms. Ogren may attend the “Flock and Fiber Fair” in Canby,
17
     Oregon, from September 22-29, 2010; provided, prior to leaving the
18   Eastern District of Washington, she must provide her United States
19   Probation Officer with two things:          (1) a telephone number by which he
20   can contact her while she is out of the district, and (2) the address

21   of the place where the festival will be held.
          IT IS SO ORDERED.       The District Court Executive is hereby
22
     directed to enter this order and furnish copies to counsel.
23
          DATED this     20th       day of September, 2010.
24

25                              s/ Fred Van Sickle
                                    Fred Van Sickle
26                       Senior United States District Judge


     ORDER - 1
